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 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     POUPAK BAREKAT, an individual,
12                                            Complaint For Damages And
13                   Plaintiff,               Injunctive Relief For:

14   v.                                       1. VIOLATIONS OF THE
15                                               AMERICANS WITH DISABILITIES
                                                 ACT OF 1990, 42 U.S.C. §12181 et
16   LES AMIS RESTAURANT &                       seq. as amended by the ADA
     LOUNGE INC., a California                   Amendments Act of 2008 (P.L. 110-
17
     corporation; FREDERIK                       325).
18   MOEHRING, an individual; ANN
     GRIBBEN, an individual; and DOES         2. VIOLATIONS OF THE UNRUH
19
     1-10, inclusive,                            CIVIL RIGHTS ACT, CALIFORNIA
20                                               CIVIL CODE § 51 et seq.
21                  Defendants.
22

23
           Plaintiff, POUPAK BAREKAT (“Plaintiff”), complains of Defendants LES
24
     AMIS RESTAURANT & LOUNGE INC., a California corporation; FREDERIK
25
     MOEHRING, an individual; ANN GRIBBEN, an individual; and Does 1-10
26
     (“Defendants”) and alleges as follows:
27
                                           PARTIES
28
           1.    Plaintiff is an adult California resident. Plaintiff is substantially limited
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                                          COMPLAINT
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 1   in performing one or more major life activities, including but not limited to:
 2   walking, standing, ambulating, and sitting. As a result of these disabilities, Plaintiff
 3   relies upon mobility devices, including at times a wheelchair, to ambulate. With
 4   such disabilities, Plaintiff qualifies as a member of a protected class under the
 5   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 6   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 7   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 8   Plaintiff’s visits to Defendants’ facility and prior to instituting this action, Plaintiff
 9   suffered from a “qualified disability” under the ADA, including those set forth in
10   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
11          2.     Plaintiff is informed and believes and thereon alleges that Defendants
12   FREDERIK MOEHRING, an individual; ANN GRIBBEN, an individual, owned the
13   property located at 128 W. Wilshire Ave., Fullerton, CA 92832 (“Property”) on or
14   around August 1, 2020.
15          3.     Plaintiff is informed and believes and thereon alleges that Defendants
16   FREDERIK MOEHRING, an individual; ANN GRIBBEN, an individual, owns the
17   Property currently.
18          4.     Plaintiff is informed and believes and thereon alleges that Defendant
19   LES AMIS RESTAURANT & LOUNGE INC., a California corporation, owned,
20   operated, and controlled Les Amis Restaurant & Lounge (“Business”) located at the
21   Property on August 1, 2020.
22          5.     Plaintiff is informed and believes and thereon alleges that Defendant
23   LES AMIS RESTAURANT & LOUNGE INC., a California corporation, owns,
24   operates, and controls the Business located at the Property currently.
25          6.     Plaintiff does not know the true name of Defendants, its business
26   capacity, its ownership connection to the Property the Business, or its relative
27   responsibilities in causing the access violations herein complained of. Plaintiff is
28   informed and believes that each of the Defendants herein, including Does 1 through
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                                             COMPLAINT
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 1   10, inclusive, is responsible in some capacity for the events herein alleged, or is a
 2   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
 3   when the true names, capacities, connections, and responsibilities of the Defendants
 4   and Does 1 through 10, inclusive, are ascertained.
 5                               JURISDICTION AND VENUE
 6          7.     This Court has subject matter jurisdiction over this action pursuant
 7   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 8          8.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 9   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
10   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
11   federal ADA claims in that they have the same nucleus of operative facts and
12   arising out of the same transactions, they form part of the same case or controversy
13   under Article III of the United States Constitution.
14          9.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
15   real property which is the subject of this action is located in this district and because
16   Plaintiff's causes of action arose in this district.
17                                FACTUAL ALLEGATIONS
18          10.    Plaintiff went to the Business on or about August 1, 2020 for the dual
19   purpose of inquiring about vegan or vegetarian catering and to confirm that this
20   public place of accommodation is accessible to persons with disabilities within the
21   meaning federal and state law.
22          11.    The Business is a facility open to the public, a place of public
23   accommodation, and a business establishment.
24          12.    Parking spaces are one of the facilities, privileges, and advantages
25   reserved by Defendants to persons at the Property serving the Business.
26          13.    Unfortunately, although parking spaces were one of the facilities
27   reserved for patrons, there were no designated parking spaces available for persons
28   with disabilities that complied with the 2010 Americans with Disabilities Act
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                                             COMPLAINT
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 1   Accessibility Guidelines (“ADAAG”) on August 1, 2020.
 2         14.    At that time, instead of having architectural barrier free facilities for
 3   patrons with disabilities, Defendants have: a built up curb ramp that projects from
 4   the sidewalk and into the access aisle (Section 406.5). Furthermore, the curb ramp is
 5   in excess of the maximum grade allowed by ADAAG specifications (Section 406.1).
 6         15.    Subject to the reservation of rights to assert further violations of law
 7   after a site inspection found infra, Plaintiff asserts there are additional ADA
 8   violations which affect her personally.
 9         16.    Plaintiff is informed and believes and thereon alleges Defendants had
10   no policy or plan in place to make sure that there was compliant accessible parking
11   reserved for persons with disabilities prior to August 1, 2020.
12         17.    Plaintiff is informed and believes and thereon alleges Defendants have
13   no policy or plan in place to make sure that the designated disabled parking for
14   persons with disabilities comport with the ADAAG.
15         18.    Plaintiff personally encountered these barriers. The presence of these
16   barriers related to Plaintiff’s disability denies Plaintiff her right to enjoy accessible
17   conditions at public place of accommodation and invades legally cognizable
18   interests created under the ADA.
19         19.    The conditions identified supra in paragraph 14 are necessarily related
20   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
21   the major life activities of walking, standing, and ambulating; Plaintiff is the holder
22   of a disabled parking placard; and because the enumerated conditions relate to the
23   use of the accessible parking, relate to the slope and condition of the accessible
24   parking and accessible path to the accessible entrance, and relate to the proximity of
25   the accessible parking to the accessible entrance.
26         20.    As an individual with a mobility disability who relies upon a wheelchair
27   and other mobility devices, Plaintiff has a keen interest in whether public
28   accommodations have architectural barriers that impede full accessibility to those
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                                            COMPLAINT
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 1   accommodations by individuals with mobility impairments.
 2          21.      Plaintiff is being deterred from patronizing the Business and its
 3   accommodations on particular occasions, but intends to return to the Business for the
 4   dual purpose of availing herself of the goods and services offered to the public and
 5   to ensure that the Business ceases evading its responsibilities under federal and state
 6   law.
 7          22.      Upon being informed that the public place of accommodation has
 8   become fully and equally accessible, she will return within 45 days as a “tester” for
 9   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
10   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
11          23.      As a result of her difficulty experienced because of the inaccessible
12   condition of the facilities of the Business, Plaintiff was denied full and equal access
13   to the Business and Property.
14          24.      The Defendants have failed to maintain in working and useable
15   conditions those features required to provide ready access to persons with
16   disabilities.
17          25.      The U.S. Department of Justice has emphasized the importance of
18   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
19   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
20   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
21   Coronavirus Disease 2019 (COVID-19) found at
22   https://www.ada.gov/aag_covid_statement.pdf.
23          26.      The violations identified above are easily removed without much
24   difficulty or expense. They are the types of barriers identified by the Department of
25   Justice as presumably readily achievable to remove and, in fact, these barriers are
26   readily achievable to remove. Moreover, there are numerous alternative
27   accommodations that could be made to provide a greater level of access if complete
28   removal were not achievable.
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                                             COMPLAINT
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 1         27.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 2   alleges, on information and belief, that there are other violations and barriers in the
 3   site that relate to her disability. Plaintiff will amend the complaint, to provide proper
 4   notice regarding the scope of this lawsuit, once she conducts a site inspection.
 5   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 6   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 7   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 8   have all barriers that relate to her disability removed regardless of whether she
 9   personally encountered them).
10         28.    Without injunctive relief, Plaintiff will continue to be unable to fully
11   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
12                               FIRST CAUSE OF ACTION
13   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
14     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
15                                        (P.L. 110-325)
16         29.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
17   above and each and every other paragraph in this Complaint necessary or helpful to
18   state this cause of action as though fully set forth herein.
19         30.    Under the ADA, it is an act of discrimination to fail to ensure that the
20   privileges, advantages, accommodations, facilities, goods, and services of any place
21   of public accommodation are offered on a full and equal basis by anyone who owns,
22   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
23   Discrimination is defined, inter alia, as follows:
24                a.     A failure to make reasonable modifications in policies, practices,
25                       or procedures, when such modifications are necessary to afford
26                       goods, services, facilities, privileges, advantages, or
27                       accommodations to individuals with disabilities, unless the
28                       accommodation would work a fundamental alteration of those
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                                            COMPLAINT
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 1                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 2                b.     A failure to remove architectural barriers where such removal is
 3                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 4                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 5                       Appendix "D".
 6                c.     A failure to make alterations in such a manner that, to the
 7                       maximum extent feasible, the altered portions of the facility are
 8                       readily accessible to and usable by individuals with disabilities,
 9                       including individuals who use wheelchairs, or to ensure that, to
10                       the maximum extent feasible, the path of travel to the altered area
11                       and the bathrooms, telephones, and drinking fountains serving
12                       the area, are readily accessible to and usable by individuals with
13                       disabilities. 42 U.S.C. § 12183(a)(2).
14         31.    Any business that provides parking spaces must provide accessible
15   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
16   shall be at the same level as the parking spaces they serve. Changes in level are not
17   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
18   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
19   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
20   designated disabled parking space is a violation of the law and excess slope angle in
21   the access pathway is a violation of the law.
22         32.    A public accommodation must maintain in operable working condition
23   those features of its facilities and equipment that are required to be readily accessible
24   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
25         33.    Here, the failure to ensure that accessible facilities were available and
26   ready to be used by Plaintiff is a violation of law.
27         34.    Given its location and options, Plaintiff will continue to desire to
28   patronize the Business but she has been and will continue to be discriminated against
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                                           COMPLAINT
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 1   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 2   the barriers.
 3                               SECOND CAUSE OF ACTION
 4       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 5         35.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6   above and each and every other paragraph in this Complaint necessary or helpful to
 7   state this cause of action as though fully set forth herein.
 8         36.       California Civil Code § 51 et seq. guarantees equal access for people
 9   with disabilities to the accommodations, advantages, facilities, privileges, and
10   services of all business establishments of any kind whatsoever. Defendants are
11   systematically violating the UCRA, Civil Code § 51 et seq.
12         37.       Because Defendants violate Plaintiff’s rights under the ADA,
13   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
14   52(a).) These violations are ongoing.
15         38.       Plaintiff is informed and believes and thereon alleges that Defendants’
16   actions constitute discrimination against Plaintiff on the basis of a disability, in
17   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
18   previously put on actual or constructive notice that the Business is inaccessible to
19   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
20   inaccessible form, and Defendants have failed to take actions to correct these
21   barriers.
22                                            PRAYER
23   WHEREFORE, Plaintiff prays that this court award damages provide relief as
24   follows:
25         1.        A preliminary and permanent injunction enjoining Defendants from
26   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
27   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
28   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
                                                  8
                                             COMPLAINT
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 1   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
 2   under the Disabled Persons Act (Cal. C.C. §54) at all.
 3         2.     An award of actual damages and statutory damages of not less than
 4   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 5         3.     An additional award of $4,000.00 as deterrence damages for each
 6   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 7   LEXIS 150740 (USDC Cal, E.D. 2016); and,
 8         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 9   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
10

11                               DEMAND FOR JURY TRIAL
12         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
13   raised in this Complaint.
14

15   Dated: August 24, 2020                  MANNING LAW, APC
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17                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
18                                       Attorney for Plaintiff
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                                           COMPLAINT
